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                                  STATEMENT OF FACTS

        On January 6, 2021, your affiant, Special Agent Lynda W. Thomas, was on duty and
performing my official duties as a Special Agent of the Federal Bureau of Investigation.
Specifically, I am assigned to the Washington Field Office, where I am currently assisting with
investigating criminal activity in and around the Capitol grounds. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate and Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 7, 2021 W-1 submitted an online tip to the FBI National Threat Operations
Center regarding the riots at the United States Capitol. The tip stated that W-1 had “a screen
record” of JORDAN REVLETT “going into the Capitol Building as well as a screenshot of a photo
he posted on Snapchat,” and that REVLETT had “also posted a picture of his face on his story
stating what happened at the building.” On January 8, 2021, your affiant interviewed W-1, who
is an acquaintance and Snapchat contact of JORDAN REVLETT’s. During the interview, W-1
emailed your affiant a video and screenshot W-1 had taken of REVLETT’s Snapchat account.

        The approximately 42-second video shows Snapchat display name “Jordan Revlett,”
 associated with username “jrevlett,” listed under “Friends & Groups.” It then shows, with display
name “Jordan Revlett” and “4h ago” in the upper left corner throughout, a video of a chaotic and
noisy scene of a stream of people ascending the steps to an entrance of the Capitol building and
entering the doorway. The entrance is recognizable as a door on the Upper West Terrace of the
U.S. Capitol. Shouting and chanting can be heard; a male voice near the steps yells loudly, “We’re
in the fucking Capitol!” while another male voice says, “Holy shit.” The video clip was recorded
from the perspective of someone who himself was ascending the steps and entering the doorway.

        The video then switches to a scene – again, with “Jordan Revlett” and “4h ago” in the upper
left corner – depicting rioters and officers inside the Capitol building. The video clip was recorded
from the perspective of someone who himself was walking around inside the building among the
people depicted. Chants of “Let us through!” can be heard.

        The video then switches – with “Jordan Revlett” and “1h ago” in the upper left caption –
to what appears to be a “selfie” still shot of a young, white male with a seat belt, seated in a vehicle.
The caption states, “Just so you guys know a capitol police officer opened the door from inside to
let us in.” The young, white male subject in the “selfie” is consistent with a Kentucky Driver’s
License photo of REVLETT, as well as Facebook and Instagram photos associated with “Jordan
Revlett” accounts that your affiant reviewed.
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                                Jordan Revlett Snap Chat Video

         W-1 also provided a screenshot of a photograph – with “Jordan Revlett” and “3h ago from
Camera Roll” in the upper left caption – showing a different scene inside of the Capitol Building.
A line of approximately ten law enforcement officers stand next to a statue of Abraham Lincoln
statute, guarding a hallway. The caption states, “Fyi there was no gunshots.”

         On January 15, 2021, FBI agents interviewed REVLETT. During the interview,
REVLETT was shown the Snapchat video posted by “Jordan Revlett” provided by W-1 and
identified the video as his. REVLETT further stated he and his parents had traveled to Washington,
D.C., on January 5, 2021, to hear President Donald Trump speak on January 6, 2021. After
President Trump’s speech, REVLETT and his parents walked to the Capitol. REVLETT stated
that he entered the United States Capitol Building and walked around inside, including staying in
the Rotunda area for several minutes. REVLETT advised he did not see any signs that would have
restricted his entry and a police officer was standing behind the door he entered, who did not try
to stop his entry. REVLETT stated he did not break anything or participate in any violence while
in Washington, D.C. REVLETT stated he was wearing a camouflage hat that day.

       Video surveillance footage was obtained from the United States Capitol Police, which
showed REVLETT enter the US Capitol Building at the Upper West Terrace Door at
approximately 2:35 p.m. on January 6, 2021. The Capitol video footage is consistent with the
Snapchat image showing REVLETT entering through the same door (Snapchat image below).
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                               Jordan Revlett Snapchat Video

        Based on the foregoing, your affiant submits that there is probable cause to believe that
JORDAN REVLETT violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that JORDAN REVLETT
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which make it a crime to willfully and knowingly (D)
engage in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol
Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress
or either House of Congress, or the orderly conduct in that building of a hearing before, or any
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deliberations of, a committee of Congress or either House of Congress; and (G) parade,
demonstrate, or picket in any of the Capitol Buildings.




                                                    _________________________________
                                                    Special Agent Lynda W. Thomas
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 20th day of January 2021.
                                                                          2021.01.20
                                                                          14:52:48 -05'00'
                                                    ___________________________________
                                                    ZIA M. FARUQUI
                                                    U.S. MAGISTRATE JUDGE
